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 8
                                UNITED STATES BANKRUPTCY COURT
 9
                                EASTERN DISTRICT OF WASHINGTON
10
      In re                                              Case No. 23-01243-WLH11
11
      iCap Enterprises, Inc., et al.,                    NOTICE OF APPEARANCE AND
12                                                       REQUEST FOR SPECIAL NOTICE
                          Debtors,
13

14            PLEASE TAKE NOTICE that, pursuant to Bankruptcy Rule 9010(b), Foster Garvey PC

15   and Jason M. Ayres hereby appear as counsel for Umpqua Bank, in the above-referenced

16   bankruptcy proceeding and request that all notices, pleadings, and information filings sent to any

17   person or entity in connection with this proceeding subsequent to the filing of this Request,

18   including all notices sent pursuant to Bankruptcy Rule 2002, be sent to the undersigned attorneys

19   for Umpqua Bank.

20            DATED this 27th day of November, 2023.

21                                                     FOSTER GARVEY PC
22                                                     By /s/ Jason M. Ayres
                                                          Jason M. Ayres, WSBA #39141
23
                                                          121 SW Morrison St, Suite 1100
24                                                        Portland, OR 97204
                                                          (503) 228-3939
25                                                        jason.ayres@foster.com

26


                                                                            FOSTER GARVEY P.C.
      NOTICE OF APPEARANCE AND REQUEST FOR SPECIAL                               eleventh floor
                                                                            121 sw morrison street
      NOTICE- 1                                                          portland, oregon 97204-3141
                                                                                (503) 228-3939



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 1                                CERTIFICATE OF SERVICE

 2         I hereby certify on November 27, 2023, I electronically filed the foregoing NOTICE OF

 3   APPEARNCE AND REQUEST FOR SPECIAL NOTICE with the Clerk of the Court using the

 4   CM/ECF system which will send notification of such filing to the persons listed below:
       • Jesse Baker    ecfwaeb@aldridgepite.com,
 5        jbaker@aldridgepite.com;JPB@ecf.inforuptcy.com
 6     • John Bender     jbender@corrcronin.com, tuy@corrcronin.com
       • Douglas R Cameron         dcameron@hansonbaker.com, hwatson@hansonbaker.com
 7     • Matthew J Campos        mcampos@mcnaul.com, NHEDGES@MCNAUL.COM
       • Zachary A. Cooper       zachary.cooper@millernash.com,
 8        edgar.rosales@millernash.com
       • Gary W Dyer       Gary.W.Dyer@usdoj.gov
 9
       • Michael M Feinberg        mfeinberg@karrtuttle.com,
10        rmoreau@karrtuttle.com;asier@karrtuttle.com
       • Julian Gurule     jgurule@buchalter.com,
11        smartin@buchalter.com,docket@buchalter.com
       • Armand J Kornfeld        jkornfeld@bskd.com,
12        psutton@bskd.com;psutton@ecf.courtdrive.com;vbraxton@bskd.com;vbraxton@ecf.co
          urtdrive.com;mbeck@bskd.com;mbeck@ecf.courtdrive.com;dlevitin@bskd.com;dleviti
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          n@ecf.courtdrive.com;jkornfeld@ecf.courtdrive.com
14     • Darren R Krattli     dkrattli@eisenhowerlaw.com, jfernando@eisenhowerlaw.com
       • Garrett S Ledgerwood         Garrett.Ledgerwood@MillerNash.com
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       • Vadim J Rubinstein vrubinstein@loeb.com, gmacarol@loeb.com
17
       • J. Todd Tracy     todd@thetracylawgroup.com, ecf@thetracylawgroup.com
18     • US Trustee     USTP.REGION18.SP.ECF@usdoj.gov
       • Jason E Wax      jwax@bskd.com,
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          urtdrive.com;mbeck@bskd.com;mbeck@ecf.courtdrive.com;dlevitin@bskd.com;dleviti
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       • Alan J Wenokur       alan@wrlawgroup.com, assistant@wrlawgroup.com
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          urtdrive.com;mbeck@bskd.com;mbeck@ecf.courtdrive.com;dlevitin@bskd.com;dleviti
23        n@ecf.courtdrive.com;awillig@ecf.courtdrive.com
24         DATED this 27th day of November, 2023.
25                                                    /s/ Jason M. Ayres
26                                                    Jason M. Ayres, WSBA #39141


                                                                      FOSTER GARVEY P.C.
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